     16-01020-jlg       Doc 24     Filed 06/05/17       Entered 06/05/17 11:33:00          Summons        Pg 1
                                                         of 1
                              UNITED STATES BANKRUPTCY COURT
                                   Southern District of New York
In re: Amir Orly                                                                  Bankruptcy Case No.: 15−11650−jlg

Alfredo Moreno Cocoletzi
Edgar Monteroso
Gilberto Dario Ramirez Ramos
German Torres Romero
Cristian Fredy Villar Medina
                                                     Plaintiff(s),
−against−                                                                    Adversary Proceeding No. 16−01020−jlg
Amir Orly
                                                    Defendant(s)
                                     SECOND
                    SUMMONS AND NOTICE OF PRETRIAL CONFERENCE
                          IN AN ADVERSARY PROCEEDING

YOU ARE SUMMONED and required to submit a motion or answer to the complaint which is attached to this
summons to the clerk of the bankruptcy court within 30 days after the date of issuance of this summons, except that
the United States and its offices and agencies shall submit a motion or answer to the complaint within 35 days, to:

Address of Clerk:
                                                        Clerk of the Court
                                                        United States Bankruptcy Court
                                                        Southern District of New York
                                                        One Bowling Green
                                                        New York, NY 10004−1408
At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.
Name and Address of Plaintiff's Attorney:
                                                      Joshua S. Androphy
                                                      Michael Faillace & Associates, P.C.
                                                      60 East 42nd Street
                                                      Suite 2020
                                                      New York, NY 10165
If you make a motion, your time to answer is governed by Fed. R. Bankr. P. 7012.

YOU ARE NOTIFIED that a pretrial conference of the proceeding commenced by the filing of the complaint will be
held at the following time and place:
United States Bankruptcy Court                                   Room: Courtroom 601 (JLG), One Bowling
Southern District of New York                                    Green, New York, NY 10004−1408
One Bowling Green
New York, NY 10004−1408                                          Date and Time: 7/25/17 at 10:00 AM
IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR
CONSENT TO ENTRY OF A JUDGMENT BY THE BANKRUPTCY COURT AND JUDGMENT BY DEFAULT
MAY BE TAKEN AGAINST YOU FOR THE RELIEF DEMANDED IN THE COMPLAINT.


Dated: 6/5/17                                              Vito Genna

                                                           Clerk of the Court

                                                           By: /s/ Carmen Ortiz

                                                           Deputy Clerk
